     Case 1:22-cv-06441-PGG-KHP Document 27 Filed 04/25/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

STEIN & NIEPORENT LLP
David Stein (DS 2119)
1441 Broadway, Suite 6090
New York, NY 10018
(212) 308-3444

Attorneys for Defendant

    Valerie Dicks, on behalf of herself and all
    others similarly situated,

                   Plaintiffs,                                 DOCKET NO. 22-cv-6441
                                                                   (PGG) (KHP)
                       - vs. –

    Amerimark Direct LLC d/b/a Beauty                 NOTICE OF BANKRUPTCY FILING AND
    Boutique,                                          IMPOSITION OF AUTOMATIC STAY

                   Defendant.


TO THE CLERK OF THE COURT:

       PLEASE TAKE NOTICE that, on April 11, 2023, AmeriMark Interactive, LLC
and certain of its affiliates (collectively, the “Debtors”)1 filed voluntary petitions (the
“Chapter 11 Petitions”) for relief under chapter 11 of title 11 of the United States Code,
11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”). Pursuant to an order of the
Bankruptcy Court, all cases are being jointly administered under Docket No. 23-10438
(TMH) (Bankr. D. Del.). As of the date hereof, the Debtors’ chapter 11 cases remain
pending.

        PLEASE TAKE FURTHER NOTICE that, pursuant to section 362 of the
Bankruptcy Code, upon the filing of the Chapter 11 Petitions, an injunction was placed
into effect, which automatically stays, among other things, (i) the commencement or
continuation of any judicial, administrative or other action or proceeding against the
Debtors that was, or could have been, commenced before the filing of the Chapter 11
Petitions, or (ii) any act to obtain possession or of exercise control over property of the
Debtors’ estates.



1     The Debtors in the chapter 11 cases are: AmeriMark Interactive, LLC, AmeriMark Intermediate
      Sub, Inc., AMDRL Holdings, Inc., AmeriMark Intermediate Holdings, LLC, AmeriMark Direct, LLC,
      Dr. Leonard’s Healthcare, LLC, and L.T.D. Commodities LLC.
  Case 1:22-cv-06441-PGG-KHP Document 27 Filed 04/25/23 Page 2 of 2




Dated: April 25, 2023




                                  _____________________________
                                  David Stein (DS 2119)
                                  STEIN & NIEPORENT LLP
                                  1441 Broadway, Suite 6090
                                  New York, NY 10018
                                  (212) 308-3444
                                  (212) 836-9595 (Fax)
                                  dstein@steinllp.com

                                  Attorneys for Defendant




                                  2
